Case 1:18-cr-00401-BLW Document 194 Filed 10/09/19 Page 1 of 4

BART M. DAVIS, IDAHO STATE BAR NO. 2696

UNITED STATES ATTORNEY .

_ CHRISTOPHER S. ATWOOD, IDAHO STATE BAR NO. 7013
ASSISTANT UNITED STATES ATTORNEY

DISTRICT OF IDAHO
WASHINGTON GROUP PLAZA IV Us
800 EAST PARK BOULEVARD, SUITE 600 | "©: COURTS
BOISE, ID 83712-7788 0
TELEPHONE: (208) 334-1211 | Rovg ET 09 2n1g
FACSIMILE: (208) 334-1413 : araHiles

CLERK Dist ENYON —~

UNITED STATES DISTRICT COURT

 

 

FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA,
Case No. 1:18-CR-00401-EJL
Plaintiff,
THIRD SUPERSEDING INDICTMENT
vs.
18 U.S.C. § 2
STEVEN TODD THOMPSON, 21 U.S.C. §§ 841(a)(1), (b)(1)(B), (6)1)(C),
COLT MURDOCK SPENCER, 846, 853
Defendants.
The Grand Jury charges:
COUNT ONE

Conspiracy to Distribute Controlled Substances
21 U.S.C. §§ 841(a)(1), (b)(D(C), and 846

Between February 1; 2017, and continuing thereafter until December 10, 2018, in the
‘Districts of Idaho and Nevada, and the Central and Southern Districts of California, the
defendants, STEVEN TODD THOMPSON and COLT MURDOCK SPENCER, knowingly and
intentionally conspired and agreed with David Paul Roberts, Echo Marie Dalos, and Cooperator

#5, who is an individual with the initials D. B., to commit the following offenses against the

THIRD SUPERSEDING INDICTMENT - 1

 
Case 1:18-cr-00401-BLW Document 194 Filed 10/09/19 Page 2 of 4

United States: distribution of methamphetamine, a Schedule II controlled substance, and
distribution of heroin, a Schedule I controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1), (b)(1)(C), and 846.

COUNT TWO

Aiding and Abetting the Possession of Methamphetamine with the Intent to Distribute
21 U.S.C. § 841(a)(1) and (b)(1)(C); 18 U.S.C. § 2

On or about December 10, 2018, in the District of Idaho, the defendant, STEVEN TODD
THOMPSON, did aid and abet, David Paul Roberts, who knowingly and intentionally possessed _
with intent to distribute methamphetamine, a Schedule II controlled substance, in violation of in
violation of Title 18, United States Code, Section 2, and Title 21, United States Code, Section
841(a)(1) and (b)(1)(C).

COUNT THREE

Possession of Methamphetamine with the Intent to Distribute
21: U.S.C. § 841(a)(1) and (b)(1)(B)

On or about December 10, 2018, in the District of Idaho, the defendant, STEVEN TODD —
THOMPSON, knowingly and intentionally possessed with intent to distribute five grams or more .
of actual methamphetamine, a Schedule II controlled substance, in violation of Title 21, United
States Code, Section 841(a)(1) and (b)(1)(B).

CRIMINAL FORFEITURE ALLEGATION

Drug Forfeiture
21 U.S.C. § 853

Upon conviction of the offenses alleged in Counts One through Three of this Third
Superseding Indictment, the defendants, STEVEN TODD THOMPSON and COLT MURDOCK.
SPENCER, shall forfeit to the United States any and all property, real and personal, tangible and

intangible, consisting of or derived from any proceeds the defendant obtained directly or

THIRD SUPERSEDING INDICTMENT - 2

 
Case 1:18-cr-00401-BLW Document 194 Filed 10/09/19 Page 3 of 4

indirectly as a result of the foregoing drug offenses; and any and all property, real and personal,

tangible and intangible, used or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, the foregoing offenses including but not limited to the following:

1. Unrecovered Cash Proceeds: At least $20,000 in United States currency and all

interest and proceeds traceable thereto, in that such sum in aggregate is property

which constituted proceeds of the charged offenses, property involved in or

facilitating such offenses, or was received in exchange for the distribution of

controlled substances, and was subsequently expended, spent, distributed or otherwise

disposed of by the defendants. —

Substitute Assets

Pursuant to 21 U.S.C. § 853 and other applicable statutes, the government will seek

forfeiture of substitute assets, “or any other property of the defendant” up to the value of the

defendant’s assets subject to forfeiture. The government will do so when the property subject to

forfeiture cannot be forfeited for one or more of the following reasons:

a.
b.
c.
d.
e.

without difficulty.

Cannot be located upon the exercise of due diligence;

Has been transferred or sold to, or deposited with, a third person;
Has been placed beyond the jurisdiction of the court;

Has been substantially diminished in value; or

Has been commingled with other property which cannot be subdivided

THIRD SUPERSEDING INDICTMENT - 3

 
Case 1:18-cr-00401-BLW Document 194 Filed 10/09/19 Page 4 of 4

Dated this 8th day of October, 2019.

A TRUE BILL

/s/ [signature on reverse]

 

FOREPERSON

BART MA DAVIS awe
UNITED STATES. TTORNEY

  

aa

CHRISTOPHER S. ATWOOD
ASSISTANT UNITED STATES ATTORNEY

THIRD SUPERSEDING INDICTMENT - 4

 
